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                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                               SAN FRANCISCO DIVISION

RICHARD KADREY, et al.,                              Case No. 3:23-cv-03417-VC
                                                     [PROPOSED] ORDER GRANTING
         Individual and Representative Plaintiffs,
                                                     PLAINTIFFS’ MOTION TO AMEND
    v.                                               CASE MANAGEMENT SCHEDULE
META PLATFORMS, INC.,
                                       Defendant.
.



    [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION TO AMEND CASE MANAGEMENT SCHEDULE
                                                                CASE NO. 3:23-cv-03417-VC
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           Before the Court is Plaintiﬀs’ Motion to Amend Case Management Schedule. Upon

consideration of Plaintiﬀs’ Motion and supporting papers submitted to the Court in connection

therewith, and for good cause shown, the Court modiﬁes the initial case management schedule, Dkt. 87,

as follows:

[Plaintiffs propose this first of two proposed amended schedules if the scope of summary judgment

and further discovery is limited to fair use. See Plaintiffs’ Mot. to Amend Case Mgmt. Schedule

at 1-2.]

                      Case Event                    Current Deadline     Proposed Deadline

    Fact Discovery
    Exchange Supplemental Initial Disclosures
                                                           N/A            October 7, 2024

    Meet/Confer re: Existing Written
                                                           N/A             October 9, 2024
    Discovery/Priv. Logs
    Letter Briefs re: Existing Written
                                                           N/A            October 11, 2024
    Discovery/Priv. Logs
    Motion for Leave to Amend Complaint
                                                           N/A            October 11, 2024

    Additional Written Discovery Requests
                                                           N/A            October 11, 2024

    Identification of Addt’l Document
                                                           N/A            October 11, 2024
    Custodians/Deponents
    Letter Briefs re: Addt’l Custodians/Deponents
                                                           N/A            October 18, 2024

    Responses To Addt’l Discovery (served by
                                                           N/A           November 4, 2024
    10/11)
    Documents/Priv. Logs for Addt’l Discovery
                                                           N/A           November 7, 2024
    (served by 10/11)
    Meet/Confer re: Responses to Addt’l
                                                           N/A           November 13, 2024
    Discovery (served by 10/11)
    Letter Briefs re: Addt’l Discovery (served by
                                                           N/A           November 15, 2024
    10/11)

    Close of Fact Discovery                         September 30, 2024   December 13, 2024


  [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION TO AMEND CASE MANAGEMENT SCHEDULE
                                                               CASE NO. 3:23-cv-03417-VC
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      Expert Reports

      Opening Expert Reports Due                October 11, 2024     December 20, 2024

      Rebuttal Expert Reports Due               November 8, 2024      January 15, 2025

      Close of Expert Discovery                December 20, 2024      January 31, 2025

      Summary Judgment and Daubert Motions

      Opening MSJ/Daubert Briefs Due             January 1, 2025      February 7, 2025

      Opposition to MSJ/Daubert Briefs Due      February 7, 2025       March 7, 2025

      Reply MSJ/Daubert Briefs Due              February 21, 2025      March 21, 2025

      Motion for Summary Judgment Hearing         March 6, 2025        March 27, 2025



[Plaintiffs propose this second of two schedules if the scope of summary judgment and further

discovery is not limited to fair use. See Plaintiffs’ Motion to Amend Case Mgmt. Schedule at 2-

3.]

                       Case Event               Current Deadline     Proposed Deadline

      Fact Discovery

      Close of Fact Discovery                  September 30, 2024     January 24, 2025

      Expert Reports

      Opening Expert Reports Due                October 11, 2024     February 14, 2025

      Rebuttal Expert Reports Due               November 8, 2024       March 7, 2025

      Close of Expert Discovery                December 20, 2024       March 28, 2025

      Summary Judgment and Daubert Motions

      Opening MSJ/Daubert Briefs Due             January 1, 2025       April 25, 2025

      Opposition to MSJ/Daubert Briefs Due      February 7, 2025       May 23, 2025

  [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION TO AMEND CASE MANAGEMENT SCHEDULE
                                                               CASE NO. 3:23-cv-03417-VC
                                         2
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  Reply MSJ/Daubert Briefs Due           February 21, 2025     June 13, 2025

  Motion for Summary Judgment Hearing      March 6, 2025       June 26, 2025




IT IS SO ORDERED, on this date                             .




                                           The Honorable Vince Chhabria
                                           UNITED STATES DISTRICT JUDGE




[PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION TO AMEND CASE MANAGEMENT SCHEDULE
                                                             CASE NO. 3:23-cv-03417-VC
                                       3
